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         Exhibit	  Y	  
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  Austin-Bergstrom International Airport to United States Federal Courthouse                   Drive 7.5 miles, 17 min




                                                                               Map data ©2022 Google   2 mi



        via E 7th St                                  17 min
        Fastest route now due to traffic             7.5 miles
        conditions

        via State Hwy 71 W and I-35 N                 20 min
        Some traffic, as usual                      10.6 miles




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